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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

MICHAEL JAMES NISSEN,

               Petitioner,

vs.                                                                   No. CIV 21-0505 JB/SMV
                                                                      No. CR 19-0077 JB
UNITED STATES OF AMERICA,

               Respondent.
                                     FINAL JUDGMENT

       THIS MATTER comes before the Court on: (i) Defendant Michael James Nissen’s

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a Person in Federal

Custody, filed June 1, 2021 (CV Doc. 1; CR Doc. 188); and (ii) the Court’s Memorandum Opinion

and Order, filed June 30, 2021 (Doc. 8)(“MOO”). In the MOO, the Court dismisses the case

without prejudice. See MOO at 1. There not being any more parties, claims, or issues before the

Court, the Court hereby dismisses this action without prejudice and enters Final Judgment.

       IT IS ORDERED that: (i) all claims are dismissed without prejudice; (ii) this case is

dismissed without prejudice; and (iii) Final Judgment is entered.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE




Parties and Counsel in No. CIV 21-0505 JB/SMV:

Michael Nissen
Milan, New Mexico

       Plaintiff Pro Se
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